                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                       Case No. 17-56538

DENNIS J HANDSHOE, and                                       Chapter 13
NICOLE J HANDSHOE,
                                                             Judge Thomas J. Tucker
            Debtors.
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                                 ORDER DISMISSING CASE

         On September 16, 2015, the Debtor Nicole J. Handshoe, then known as Nicole J.

Hawkins, filed a voluntary petition for relief under Chapter 13, commencing Case No. 15-53678.

That Chapter 13 case is still pending. On November 30, 2017, the Debtor Nicole J. Handshoe

filed another voluntary petition for relief under Chapter 13, this time jointly with her husband,

commencing this case. The Debtor Nicole J. Handshoe may not have two Chapter 13 cases

pending at the same time. See In re Munroe, 568 B.R. 631, 633-34 (Bank. E.D. Mich. 2017)

(citing In re Sidebottom, 430 F.3d 893, 897–99 (7th Cir. 2005) and In re Lord, 295 B.R. 16,

17–21 (Bankr. E.D.N.Y. 2003)) (“[T]he majority rule, which this Court agrees with, is that a

debtor may not have two bankruptcy cases pending at the same time.”).

         Accordingly,

         IT IS ORDERED that this case is dismissed.


Signed on December 1, 2017




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